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                       IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


TRUSTEES OF BOSTON UNIVERSITY,

                      Plaintiff,

               v.                                    Consolidated Civil Action No.
                                                     12-cv-11935-PBS
EVERLIGHT ELECTRONICS CO., LTD.
and EVERLIGHT AMERICAS, INC.,

                      Defendants.

TRUSTEES OF BOSTON UNIVERSITY,
                                                     Consolidated Civil Action No.
                      Plaintiff,                     12-cv-11935-PBS

               v.

EPISTAR CORPORATION,

                      Defendant.

TRUSTEES OF BOSTON UNIVERSITY,
                                                     Consolidated Civil Action No.
                      Plaintiff,                     12-cv-11935-PBS

v.

LITE-ON INC., ET AL,

                      Defendants.


           DECLARATION OF STEPHEN STEINBERG IN SUPPORT OF
        DEFENDANTS’ SECOND MOTION FOR FINDING OF CONTEMPT BY
                       PLAINTIFF’S LEAD COUNSEL

I, Stephen Steinberg, declare as follows:

       1.      I am an attorney at law admitted to practice before all courts of the State of

California, and Pro Hac Vice in the District of Massachusetts, and am an Associate in the law

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firm of Vasquez Benisek & Lindgren LLP, counsel of record for Defendants Everlight

Electronics Co., LTD., Everlight Americas, Inc., Epistar Corporation, Lite-On, Inc., Lite-On

Service USA, Inc., Lite-On Technology Corporation (together, “Defendants”) in the above

captioned matter. I have personal knowledge of the facts stated herein and could competently

testify to each of them if called upon to do so.

       2.      Attached as Exhibit 1 is a copy of an email string between Plaintiff’s lead

counsel, Michael Shore, and Defendants’ prior counsel, dated September 9-18, 2013.

       3.      Attached as Exhibit 2 is a copy of an email string between Michael Shore and

Defendants’ prior counsel, dated January 24-25, 2014.

       4.      Attached as Exhibit 3 is a copy of an email string between Michael Shore and

Defendants’ prior counsel, dated February 7, 2014.

       5.      Attached as Exhibit 4 is a copy of an email string between Michael Shore and

Defendants’ prior counsel, dated February 13-14, 2014.

       6.      Attached as Exhibit 5 is a copy of an email between Michael Shore and

Defendants’ prior counsel, dated February 16, 2014.

       7.      Attached as Exhibit 6 is a copy of an email string between Michael Shore and

Defendants’ prior counsel, dated February 13-18, 2014.

       8.      Attached as Exhibit 7 is a copy of an email between Michael Shore and

Defendants’ prior counsel, dated February 18, 2014.

       9.      Attached as Exhibit 8 is a copy of an email string between Michael Shore and

Defendants’ prior counsel, dated February 26, 2014.

       10.     Attached as Exhibit 9 is a copy of an email string between Michael Shore and

Defendants’ prior counsel, dated April 4, 2014.



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       11.    Attached as Exhibit 10 is copy of an email string between Michael Shore and

Defendants’ prior counsel, dated April 10-11, 2014.

       12.    Attached as Exhibit 11 is a copy of an email string between Michael Shore and

Defendants’ prior counsel, dated April 10-16, 2014.

       13.    Attached as Exhibit 12 is a copy of an email string between Michael Shore and

Defendants’ prior counsel, dated April 29, 2014.

       14.    Attached as Exhibit 13 is a copy of an email string between Michael Shore and

Defendants’ prior counsel, dated April 29, 2014.

       15.    Attached as Exhibit 14 is a copy of an email string between Michael Shore and

Defendants’ prior counsel, dated September 9, 2014.

       16.    Attached as Exhibit 15 is a copy of an email string between Michael Shore and

Defendants’ prior counsel, dated December 1-17, 2014

       17.    Attached as Exhibit 16 is a copy of an email string between Michael Shore and

Defendants’ prior counsel, dated December 1-17, 2014.

       18.    Attached as Exhibit 17 is a copy of an email between Michael Shore and

Defendants’ prior counsel, dated December 18, 2014.

       19.    Attached as Exhibit 18 is a copy of an email between Michael Shore and

Defendants’ prior counsel containing a communication addressed to Epistar employee, Meng-

Chun Kuo, dated March 12, 2015.

       20.    Attached as Exhibit 19 is a copy of an email between Michael Shore and

Defendants’ prior counsel, dated March 29, 2015.

       21.    Attached as Exhibit 20 is a copy of an email between Michael Shore and

Defendants’ prior counsel, dated May 1, 2015.



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        22.    Attached as Exhibit 21 is a copy of an email between Michael Shore and

Defendants’ prior counsel, dated May 14, 2015.

        23.    Attached as Exhibit 22 is a copy of an email string between Michael Shore and

Defendants’ prior counsel, dated May 22-23, 2015.

        24.    Attached as Exhibit 23 is a copy of an email string between Michael Shore and

third party, William Chiang, forwarded to Epistar employee, Meng-Chun Kuo, dated June 13-15,

2015.

        25.    Attached as Exhibit 24 is a copy of an email string between Michael Shore and

colleagues at my law firm, dated August 10-14, 2015.

        26.    Attached as Exhibit 25 is a copy of an email string between Michael Shore and

colleagues at my law firm, dated August 14, 2015.

        27.    Attached as Exhibit 26 is a copy of an email string between Michael Shore and

Defendants’ lead counsel, Richard Vasquez, dated September 10, 2015.

        28.    Attached as Exhibit 27 is a copy of an email between Michael Shore and Richard

Vasquez, copying our firm, dated October 17, 2015.

        29.    Attached as Exhibit 28 is a copy of an email string between Michael Shore and

Richard Vasquez, dated November 5, 2015. We brought these emails to the Court’s attention

and requested assistance on November 9, and the Court ordered Mr. Shore not to send any emails

like that again. After the Court issued its Order, Mr. Shore told me our request and the Court’s

Order were “chicken shit.” I asked Mr. Shore not to use such inappropriate language.

        30.    Attached as Exhibit 29 is a copy of an email string between Michael Shore and

our firm, dated November 15, 2015. We brought these emails to the Court’s attention and

moved for a finding contempt and an order barring Mr. Shore from sending further emails to us.



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The Court agreed and ordered him not to send any more emails. After the Court issued its Order,

Mr. Shore again told me that our motion and the Court’s Order were “chicken shit.” I asked Mr.

Shore not to use such inappropriate language, and he then told me “You’re lucky we’re in a

federal courthouse right now.”

       31.     Mr. Shore refrained from sending us further emails for the remainder of the trial,

but resumed as soon as it ended. Attached as Exhibit 30 is a copy of an email between Michael

Shore and Richard Vasquez, dated November 20, 2015.

       32.     Attached as Exhibit 31 is a copy of an email string between Michael Shore and

Richard Vasquez, copying our firm, dated December 14, 2015.

       33.     Attached as Exhibit 32 is a copy of an email string between Michael Shore and

Richard Vasquez, dated December 14, 2015.

       34.     Attached as Exhibit 33 is a copy of an email between Michael Shore and Richard

Vasquez, dated December 22, 2015.

       35.     Attached as Exhibit 34 is a copy of an email string between Michael Shore and

our firm, dated January 4-5, 2016.

       36.     Including the emails attached as Exhibits 30-34, Mr. Shore has sent us over a

dozen emails since the end of trial in this action.

       I declare under penalty of perjury under the laws of the State of California that the

foregoing is true and correct. Executed on this 13th day of January, 2016 at Lafayette,

California.


                                               By: /s/ Stephen C. Steinberg
                                               STEPHEN C. STEINBERG
                                               Counsel for Defendants Everlight Elecs. Co., Ltd.,
                                               Everlight Americas, Inc., Epistar Corp., Lite-On,
                                               Inc., Lite-On Serv. USA, Inc., Lite-On Tech. Corp.

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